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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION

                                                           Case No: 8:17-bk-03432-MGW
 In Re:                                                    Chapter 13




 GARFIELD BARRINGTON COOPER
 _________________________________/

                                          REPORT OF UNCLAIMED FUNDS

          After making distributions of monies received in this case, the Chapter 13 Standing Trustee states that all checks

 issued prior to June 5, 2019, have cleared with exception of the following:


      Check Number                           Amount                              Claimant Name & Address
       1132706                              $2,000.00                          Garfield Barrington Cooper
                                                                               5487 Friarsway Drive
                                                                               Tampa, FL 33624




          Pursuant to the provisions of 11 U.S.C. Section 347, the Trustee submits these funds totaling $2,000.00 for this

case, which is payable to Clerk, U.S. Bankruptcy Court/Court Registry.

Dated: July 25, 2019.




                                              /s/ Kelly Remick
                                              Kelly Remick
                                              Chapter 13 Standing Trustee
                                              P.O. Box 6099
                                              Sun City Center, FL 33571-6099
                                              Phone (813) 658-1165
                                              Fax (813) 658-1166




Cc: Clerk, U.S. Bankruptcy Court/Court Registry
